                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WEIFANG TENGYI JEWELRY                    )
TRADING CO., LTD                          )
                                          )
                  Plaintiff,              )                   Case No. 18-cv-4651
                                          )
      v.                                  )                   Judge Gary S. Feinerman
                                          )
                                          )                   Magistrate Judge Jeffrey Gilbert
                                          )
THE PARTNERSHIPS AND                      )
UNINCORPORATED                            )
ASSOCIATIONS IDENTIFIED ON                )
SCHEDULE “A”                              )
                                          )
                  Defendants.             )
_________________________________________ )

            MEMORANDUM IN SUPPORT OF PLAINTIFF’S ​EX PARTE
          MOTION TO EXTEND THE TEMPORARY RESTRAINING ORDER

       Pursuant to Rule 65(b)(2) of the Federal Rules of Civil Procedure and the Court’s

inherent power to effectuate its own orders, Weifeng Tengyi Jewelry Trading Co., Ltd.

(“Weifeng” or “Plaintiff”) seeks to extend the Temporary Restraining Order granted and entered

by the Court on July 24, 2018 (the “TRO”) [Doc. 16] for a period of fourteen (14) days until

August 21, 2018.

       On July 24, 2018, this Court entered the TRO against the Defendants identified on

Schedule A to the Complaint and the Amended Complaint. [Doc. 16]. Since receiving the TRO,

Plaintiff has been working diligently to ensure compliance with its terms by third parties. See

Declaration of L. Ford Banister, II (the “Banister Declaration”) at ¶ 2. In particular, Plaintiff sent


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a copy of the TRO to third parties via e-mail. Id. at ¶ 3. As of July 31, 2018, the third parties

have not completed effectuating the TRO, but are working diligently to comply. Id. Plaintiff

plans to freeze funds in financial accounts identified by the third parties in proportion to the

revenues garnered by Defendants as shown by the evidence received from these third parties. Id.

       Rule 65(b)(2) states that a temporary restraining order entered without notice may be

extended provided a party can show, prior to expiration of the order, good cause for such an

extension. Fed. R. Civ. P. 65(b)(2). Plaintiff respectfully submits that there is good cause to

extend the TRO, since there is a high probability that the Defendants will continue to harm

Plaintiff without the TRO in place, including, specifically, the continuation of sales of counterfeit

items bearing Plaintiff’s ULOVEIDO trademark and the removal of funds sufficient to secure an

award of an accounting of profits to off-shore bank accounts beyond the jurisdiction of the Court.

As discussed in Plaintiff’s Memorandum in Support of its ​Ex Parte Motion for Entry of a

Temporary Restraining Order, [Doc. 13] and as found by the Court in granting the TRO, [Doc.

16] this possibility of harm is significant. Accordingly, in the interest of justice, Plaintiff submits

that extension of the TRO is necessary. In light of the above, Plaintiff respectfully requests that

the TRO be extended for a period of fourteen (14) days until August 21, 2018.

Respectfully submitted this 1st day of August, 2018,

                                                       /s/ L. Ford Banister, II
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